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\NiEiJarreii@Crowleyl_awGroup.com
Attorne s for P|aintitf
NlART FREYWALD

lN THE SUPERIOR COURT OF CAL|FORN|A,
COUNTY OF VENTURA, NlA|N BRANCH
1 1 _ _50953-0\)51=<':)¢\!?
MARTY FREYWALD, an individual, Case #; 1 565-2014 004 ,
P|Hinfiffl (Un|imitecl Civil Case)

VS» CON|PLAINT FOR DAMAGES

CAPlTAl_ ONE, and DOES 1-50, inclusivel DENIAND FOR A JURY TRIAL
Defenclants.
|_NIEQD.M
1. CAP|TAL ONE ("Defendant") illegat|y and knowingty called MARTY FRE¥WALD

- ("P|aintifl'"‘), a consumer, on several occasions attempting to collect a debt Which Nlr.
FREYWALD informed CAP|TAL ONE he could not pay end requested that CAPITAL
ONE cease calling. ' y '

2. AI| incoming telephone calls from CAP|TAL ONE to Nlr. FREYWALD after lVlr.
FREYWALD told CAPiTAL ONE he could not pay and to cease calling constitute
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computh Fon DAMAGES

 

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[\) }\J l\.J ¥\) [\J 1\) |\.] N |\) _\. .A‘_\. ...L __'L ._\. ....L ....~.» .._\. _\.
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violations of the Caiitomia Fiosenthal Act and the federal Fair Debt Collections iiiractices
Act (incorporated into the Rosenthal Act under 1788.”|7). v

l 3. CAP|TAL ONE is a U.S.~based bank holding company specializing in credit
cards, home |oans, auto loansl as weli as banking and savings products ln conjunction
With these various operations CAPiTAi_ ONE aiso acts as a_debt collector.

4. The California legislature has determined that the banking and credit system and
grantors of credit to consumers are dependent upon the coiiection of just and owing
debts and that unfair or deceptive collection practices undermine the public confidence
that is essential to the continued functioning of the banking and credit system and
sound extensions of credit to consumers The i_egislature has further determined that
there is a need to ensure that debt collectors exercise this responsibility with fairness,
honesty and due regard for the debtor’s rights and that debt coliectors must be
prohibited from engaging in unfair or deceptive acts or practices in the collection of
consumer debts.1 . d

PART!ES

5. Pialntiff, NlAR'i'Y FREYWALD ("P|aintifi”) is, and at ali times herein mentioned
Was, a natural person Who resides in the City of Ventura, County of Ventura, State of
Caiiiornia. He is a “person" as defined by and protected under Catitomia Civi| Code
t?ss.z(g). 1

6. CAPiTAL ONE ("Defendant”) is, and at ali times herein mentioned was, on
information and beiief, a corporation Which Iavvfuliy conducts business in the Staie ot
Ca|ltornia. Defendant is a debt collector as defined by Caiifornia Civil Code 1788.2(c).

7.The true names and capacities Whether individual. corporate, associatex or
othenvise, ct defendants DOES 1-50 inciusive, are unknown to piaintiff who, thereforel
sues said defendants by such hctitious names Plaintiff Wi|| amend this complaint to

show their true names and capacities When ascertained Piaintifi is informed and

 

t csl. civ. code west (a}-(c)

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COMPLA|NT FOR DAN|AGES

 

 

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believes,' and thereon allegesl that each of said defendants is responsible in some
manner for the events and happeningsl and proximately caused the'injuries and
damages, hereinafter alleged

awaited _

8. Tiie Superior Court ot the State of Caiifornia has jurisdiction over this action
pursuant to Caiifornla Constitutlon Articie Vl, Sectlon 'lO, Which grants the Supericr
Court "originai jurisdiction in all cases except those given by statute to other trial courts.“
' A9. This Court has jurisdiction over this action pursuant to Code of Civil Procedure§
4i0.10.

10. Pursuant to California ,Code of C|vil Procedure, § 410.10 this Court has
jurisdiction over Defendant because Defendanl is a personfentity having sufficient
minimum contacts With the state of Caiitomla so as to render the exercise ofjurlsdiction
over the defendant by the Ca|ifornla courts consistent With traditional notions of fair play
and substantial justice 7

VENUE

’l'l. ' Venue is proper in the ‘v'entura County Superior'Court pursuant to

 

California Code of Civll Procedure § 395.5 because one or more of the violations in the
Comp|aint, as herein alleged against the Defendant, emanated from Ventura'Counly,
Californla. F
FACTUAL ALLEGA“¢'|ONS

12. Piaintitf is alleged to formally owe a debt to Defendant.

13. On or about April 30, 2013, Detsndant called Plaintiti's cellular telephone
while Plaintitl was at vvork in an attempt to collect the alleged debt formally owed by
Plaintiff, and Piaintifi answered the phone _

'i4. During the initial call from Detendant to Piaintift on or about Aprii 30; 2013,
P|aintiff told Defendant’s representative not to call Plaintiff,‘ not to call Piaintitf While he is

at Worl<, and he could not pay the debt

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CONiPLAlNT FOR DAMAGES

 

 

 

 

 

 

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lt'). Thereatterr on or about April 30, 2013, Defendant called Piaintiff's cellular

telephone while Plaintiff was at work on five separate occasions within a bac-hour
period
16. Plalntiff alleges on information and belief that De.ferldant made perhaps as '

many as 100 phone calls to Plaintift alter the time he demanded Defendant to stop

calling Many of those telephone calls were placed to his cellular phone using an

automated dia|ing system , '
MM
(California Civl'i Code 1788)

l. Pialntiff reaftirms and re~alleges paragraphs above herein as if specifically set
forth more fully herein below. -

' 2. Defendant is included in the class of entitles whose debt collection activities are
regulated under Callfornia Ctvil Code section 1788 et seq, as defined by California Clvii
code § irss.z(c). '

3. Plaintiff is a "person" as defined by Callfornia Clvll Code § 1788.2(9).

4. sustain is a russian as cleaned by california civil code § irss.zlii).

5. This case involves money, property cr their i=,cjulvalentl due or owing or alleged to
be due or owing from a natural person by reason cfa consumer transaction As such,
this action arises out ot a "ccnsumer debt" as those terms are defined by Californ|a Civil
Code § 1788.2®. ,

6. Defendants acts and omissions violated Callfornia Civii Code § 1788 et seq, the
Rosen'tha| Fair Debt Collectlon _Practices Act, including, but not limited to the below
activity:

a. Defendants violated l788.ll{d} by calling Plalntiff repeatedly and

continuously

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COMPLAINT FOR DAW|AG ES

 

 

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b. Deferidants violated t?BB.'ii(e) by communicating by telephone with
Plaintitf in such frequency as to be unreasonable and to constitute
harassment to the Plaintiff under the circumstances
c. Defendants violated § 1788.17 by engaging in conduct the natural
consequence which is to abuse or harass (inciud_ing causing a telephone
to ring or engaging any person in telephone conversation repeatedly or
continuously with intent to annoy, abuse, or harass any person at the
called number); using unfair or unconscionable practices in an attempt to
collect a debt.
7. Pl'aintiff is entitled to statutory damages1 actual damages and attorney fees and
cost of Suit.
8. P|aintitf suffered actual damages and emotional distress as describe above
' Y§OND CAU§F_E_QF ACT|ON
(|ntrusion on Seclusion)
9. Plaintitf repeats, re-alleges, and incorporates by reference all of the paragraphs
above as though fully stated herein
10. _The foregoing acts of Defendant as described herein constitute an
invasion of the Plaintitf’s privacy and an intrusion upon right of seclusion.
'it. Plaintiff has a common law right to, and a reasonable expectation of
privacy in his home and place of employmenta and in regard to his private affairs
12. Deiendant_’s abusive and improper collection practices in the collection of l
this debt constituted a substantial invasion upon Piaintiff's seclusion and privacy, and _,
would be highly offensive to a reasonable person.
13. Defendant intended to cause emotional distressl and/or engaged in
' reckless disregard or the probability of causing Plaintitl“s emotional distress
14. As a proximate result of Defendant’s conduct, P|aintitf has suffered

damages in an amount to be determined by proof and a finder ct fact attrial.

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COMPLNNT FOR DAMAGES

 

 

 

 

 

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15. llilefendant acted with oppression, fraud, andi'or malice, thereby entitling
Plaintifi to punitive damages in an amount according to'proof and a finderof fact at triai.
THIRD CAUS§OF ACT|ON
(l\legligence}

'l€. Piaintiti repeats, re-a||eges, and incorporates by reference ali of the
paragraphs above as though fully stated herein.

17. Defendant’s outrageousl abusive and intrusive acts as described herein
constituted negligent infliction promotional distress `

'iB. Piaintifl suffered (1) serious emotional distress,' (2) actually and
proximately caused by (3) wrongful conduct (4) by a defendant who should have
foreseen that the conduct would cause.such distress .

19. Defendant's conduct as described herein was wrongful conduct in that the

Defendant conducted its business in an abusive, opi:iressivel and harassing manner.

20. Defendant 's actions and omissions as described herein constitute

' negligence in that Defendants owed Plaintiff a duty of reasonable care in the collection

of the alleged debt. the use of the telephone iri an attempt to collect such debts, said
duties were breachedl and said breach was the proximate and actual cause of damages
suffered by Plaintiff. "

21. _ 7 Defendant owed a duty to refrain from outrageous and unlawful telephone
calls in connection_with their attempts to collect a debt 7

22. Defendant's actions and omissions demonstrate a conscious disregard of
the rights and safety of others, and constitute despicabie conduct that subject Plaintlff to
cruel and unjust hardship in conscious disregard of his rights `

' 23. Piaintiff suffered damages due to Defendant’s actions in an amount to be

determined at trial. 4 '

24. Plaintifi is entitled to punitive damages for the actions and omissions of

the Defendant as described herein

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COMPLA|NT FOR DAMAGES

 

 

 

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PRAYE FOR REL|EF
WHEREFORE, Plaintiff prays for judgment against Defendants as follows

i, Statutory damages pursuant to Cal. Civil Code § 1788 3D(b) and Civll Code
1788.17.
il. Actual damages according to proof pursuant to Cal. Civil Gode § 1788 and
_ 1788.?7, as well as common law;
iii. Actua| damages;
iv. Punitive damages',
v. Attorneys’ fees and costs
_vl. Such other and further relief that rnay be just and proper.

oated: March 25, aim _
` Andre Verdun, '

Attorney tor_P|aintiff
lili!-\RTY FREYWALD

 

 

DEMAND FOR JL_]I TR|AL
NOW COMES P|alntiff, MARTY FREYWALD, by and through his attorney, Andre

i_. Verdun and hereby demands a trial byjury in the above~captloned matter.

A d evsrdun," ` .

Attorney for F“laintlff
MARTY FREYWALD

Dated: March 25, 2014

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COMPLAINT FOR DAMAGES

 

 

 

